                       IN THE UNITED STATES BANKRUPTCY COURT
                          FOR THE WESTERN DISTRICT OF TEXAS
                                 SAN ANTONIO DIVISION

 IN RE:                                           §
                                                  §             Case No. 23-51742-cag
 CINCH WIRELINE SERVICES, LLC,                    §
                                                  §                    Chapter 7
           Debtor.                                §

ORDER GRANTING CINCH ENERGY SERVICES, LLC’S MOTION TO DISQUALIFY
        BUTCH BOYD LAW FIRM, P.C. AND JORDAN & ORTIZ, P.C.
              AS SPECIAL COUNSEL FOR THE TRUSTEE

         On this day came on to be considered Cinch Energy Services, LLC’s (“Cinch Energy”)

Motion to Disqualify Butch Boyd Law Firm, P.C. and Jordan & Ortiz, P.C. as Special Counsel for

the Trustee (Dkt. No. 141) (the “Motion”). The Court, having considered the Motion, the response,

if any, argument of counsel, and the record in this case, finds that Butch Boyd Law Firm, P.C. and

Jordan & Ortiz, P.C. should be disqualified as Special Counsel for the Trustee.

         IT IS HEREBY ORDERED that the Motion is GRANTED in its entirety.

         IT IS FURTHER ORDERED Butch Boyd, the Butch Boyd Law Firm, P.C., Shelby Jordan,

and Jordan & Ortiz, P.C. are hereby disqualified from appearing in this bankruptcy case and any



HB: 4876-5253-1666.1
related adversary proceeding, either on behalf of the Trustee or Mary Kay McGuffin.

         IT IS FURTHER ORDERED that the Court’s Order Approving Employment of

Application for Retention of Butch Boyd Law Firm, P.C. and Jordan & Ortiz, P.C. as Special

Counsel for the Trustee Pursuant to 11 U.S.C. §327(a) (Dkt. No. 57) is hereby withdrawn and of

no force or effect.

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ORDER SUBMITTED BY:

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